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CULLEN AND DYKMAN LLP
80 State Street, Suite 900
Albany, New York 12207
Matthew G. Roseman, Esq. (admission pro hac vice pending)
Bonnie L. Pollack, Esq. (admission pro hac vice pending)
Kelly McNamee, Esq. (admission pro hac vice pending)
Kyriaki A. Christodoulou, Esq. (admission pro hac vice pending)
(516) 357-3700

 Proposed Attorneys for The College ofSaint Rose

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x

In re:                                                                Chapter 11

THE COLLEGE OF SAINT ROSE,                                            Case No. 24-11131 (REL)

                            Debtor.

·-----------------------------------------------------------------x

     DEBTOR'S APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
    RETENTION OF NOLAN HELLER KAUFFMAN LLP AS SPECIAL COUNSEL TO
                THE BOARD OF TRUSTEES OF THE DEBTOR
     PURSUANT TO SECTIONS 327(e) AND 1107 (b) OF THE BANKRUPTCY CODE

          The College of Saint Rose (the "Debtor''), debtor and debtor-in-possession in the above­

 captioned chapter 11 case, files this application (this ''Application") for entry of an order pursuant

 to sections 327(e) and 1107(b) of title 11 of the United States Code (the «Bankruptcy Code'")

 substantially in the form attached hereto as Exhibit B, authorizing the Debtor to retain the law

 firm of Nolan Heller Kauffinan LLP ("Nolan'') as special counsel to the Board of Trustees of the

 Debtor effective as of the Petition Date (as defined herein). In support of this Application, the

 Debtor submits the declaration of Francis J. Brennan, a partner at Nolan (the "Brennan

 Declaration"), which is attached hereto as Exhibit A. In further support of this Application, the

 Debtor respectfully states as follows:



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                                           INTRODUCTION

                      1,   On October 10, 2024 (the "Petition Date- ). the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code")

in this Court.

                      2.   The Debtor has been authorized to remain in possession of its property and

to continue in the operation and management of its business as a debtor-in-possession pursuant to

 sections 1107 and 1108 of the Bankruptcy Code.

                      3.   No trustee or examiner has been appointed in the Debtor's chapter 11 case.

                      4.   An official committee of unsecured creditors (the "Committee") has not yet

been appointed by the Office of the United States Trustee for Region 2 (the "U.S. Trustee").

                      5.   Simultaneously with the filing of its petition, the Debtor filed the

 Declaration of Marcia J. White pursuant to Local Bankruptcy Rule 2015-2 (the "First Day

 Declaration"). A more detailed factual background of the Debtor's business and operations, as

 well as the events leading to the filing of this chapter 11 case, is more fully set forth in the First

 Day Declaration, the contents of which are incorporated herein by reference.


                                       JURISDICTION

                      6.   This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§

 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

 before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.


                                    RELIEF REQUESTED

                      7.   By this Application, the Debtor seeks the entry of an order authorizing the

 retention of Nolan as special counsel to the Debtor's Board of Trustees, pursuant to sections 327(e)

 and 1107(b) of the Bankruptcy Code, to perform the legal services more fully set forth herein, as

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of the Petition Date.

                      8.     In the course of a bankruptcy case, issues often arise that effect the Board

separate and apart from the debtor, and which the Board must address. In this bankruptcy, that is

no exception and the Debtor's counsel will not be permitted to provide advice to members to its

 Board of Trustees (the '`Board") regarding its duties and obligations. In addition, the pre-petition

bondholders have made informal inquiries regarding disclosures made in connection with the

 issuance of the 2021 bonds. While the Debtor and the Board vehemently stress that there were no

 improprieties in connection with the bond issuance, the Board will need its own counsel to address

 those inquiries in bankruptcy.

                      9.     Thus, the Debtor desires to retain Nolan to provide such legal services as

 are necessary and requested by the Board as may be needed in this case. Nolan's service will not

 duplicate any services performed by Debtor's bankruptcy counsel.

                      10.    The Debtor has selected Nolan because Nolan's attorneys have extensive

 experience and knowledge in, among other things, Board representation. The Debtor submits that

 the retention of Nolan under the terms described herein is appropriate under sections 327(e) and

 1107(b) of the Bankruptcy Code. Section 327(e) of the Banlcruptcy Code provides, in relevant

 part, as follows:

                      The Trustee, with the court's approval, may employ, for a
                      specified special purpose, other than to represent the trustee in
                      conducting the case, an attorney that has represented the debtor, if
                      in the best interest of the estate, and if such attorney does not
                      represent or hold any interest adverse to the debtor or to the estate
                      with respect to the matter on which such attorney is to be
                      employed.


 11 U.S.C. § 327(e).

                      11.    Bankruptcy Rule 2014(a) requires that an application for retention include:


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                     [S]pecific facts showing the necessity for the employment, the
                     name of the [firm] to be employed, the reasons for the selection,
                     the professional services to be rendered, any proposed arrangement
                     for compensation, and, to the best of the applicant's knowledge, all
                     of the [firm's] connections with the debtor, creditors, any other
                     party in interest, their respective attorneys and accountants, the
                     United States trustee, or any person employed in the office of the
                     United States trustee.


 Fed. R. Bankr. P. 2014(a).

                     12.    Nolan was retained to represent the Board shortly prior to the Petition Date.

 Section 327(e) of the Bankruptcy Code authorizes the retention of counsel who previously

 represented a debtor prepetition provided that: (a) the appointment is in the best interest of the

 debtor's estate; (b) counsel does not hold an interest adverse to the estate with respect to the matter

 for which counsel is to be employed; and (c) the specified special purpose for which counsel is

 being retained does not rise to the level of conducting the bankruptcy case for the debtor in

 possession. See In re DeVlieg, Inc., 174 B.R. 497 (N.D. Ill. 1994); In re Aro Chem Corp., 176 F.3d

 610, 622 (2d Cir. 1999) (noting that "where the interest of the special counsel and the interest of

 the estate are identical with respect to the matterfor which special counsel is retained, there is no

 conflict and the representation can stand"). As explained more fully below, the Debtor submits

 that each of these factors is satisfied with respect to Nolan, and that, therefore, its retention should

 be approved under section 327(e) of the Bankruptcy Code.

                     13.    Nolan would only be retained to assist members of the Board. Its retention,

 therefore, does not rise to the level of conducting this case. Further, given the importance of some

 of the issues which may arise, it is in the Debtor's best interest to continue the Board's

 representation in this matter. In addition, to the best of the Debtor's knowledge, the members and

 associates of Nolan do not hold or represent any interest adverse to the Debtor on any matters in

 which the firm is to be engaged or have any connection with the Debtor, its creditors, or any other

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party in interest, or their attorneys, except to the extent set forth in the Brennan Declaration annexed

hereto as Exhibit A. Accordingly, the Debtor submits that Nolan may be retained under a general

retainer as special counsel to the Debtor pursuant to section 327(e) of the Bankruptcy Code.

                      14.   The fact that Nolan represented the Debtor as counsel to the Board for a short

 time pre-petition does not impact its ability to be retained post-petition. Section 1107(b) of the

 Bankruptcy Code provides that "a person is not disqualified for employment under section 327 of

 this title by a debtor in possession solely because of such person's employment by or representation

 of the debtor before the commencement of the case." 11 U.S.C. § 1107(b).

                      15.   The Debtor therefore requests an order authorizing the retention and

 employment of Nolan as of the Petition Date. Given that Nolan's services may be required in the

 days immediately following the commencement of the bankruptcy case, the Debtor believes that

 such retention is in all parties' best interest.

                      16.   Subject to this Court's approval and in accordance with sections 330 and

 331, the applicable Bankruptcy Rules, the Local Bankruptcy for the Northern District of New York,

 and other procedures that may be fixed by the Court, the Debtor requests that Nolan be

 compensated on an hourly basis and that Nolan receive reimbursement of actual and necessary

 expenses incurred in connection with its representation of the Debtor in this case. The Debtor also

 requests that Nolan receive permission to apply its prepetition retainer against any prepetition fees

 and expenses in the ordinary course of business, provided, that, any remaining amounts of the

 prepetition retainer shall be applied towards postpetition fees and expenses included in Nolan's

 first interim fee application, after such postpetition fees and expenses are approved on an interim

 basis pursuant to an order of the Court awarding fees and expenses to Nolan.




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                                                NOTICE

                     17.   Notice of this Motion has been given to: (a) the United States Trustee for

 Region 2; (h ) the Debtor's twenty (20) largest unsecured creditors; (c) counsel to the Debtor's

 Bondholders; (d) counsel to the proposal DIP lender; and (e) those parties requesting notice

 pursuant to Bankruptcy Rule 2002. The Debtor submits that, under the circumstances, no other or

 further notice is required.

                     18.   No previous application for the relief sought herein has been made to this

 or any other Court.

         WHEREFORE, the Debtor respectfully requests that the Court enter an order, substantially

 in the form annexed hereto as Exhibit B, granting the relief requested in this application and

 granting the Debtor such other and further relief as may be just and proper.

 Dated: Albany, New York
        October 10, 2024

                                                 CULLEN AND DYKMAN LLP


                                                 By: /s/ Bonnie Pollack
                                                 Matthew G. Roseman, Esq.
                                                 Bonnie L. Pollack, Esq.
                                                 Kelly McNamee, Esq.
                                                 Kyriaki A. Christodoulou, Esq.
                                                 80 State Street, Suite 900
                                                 Albany, New York 12207
                                                 (516) 357-3700
                                                 mroseman(tLeullenlip.com
                                                 hpollackca cullenlip.com
                                                 kmnameegcullenllp.corn
                                                 kchristodouloucullenllp.com
                                                 Proposed Counsel for The College ofSaint Rose




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                                       Exhibit A

                                  Brennan Declaration




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 CULLEN AND DYKMAN LLP
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 Kyriaki Christodoulou, Esq. (admission pro hac vice pending)
 (516) 357-3700

 Proposed Attorneys/or The College a/Saint Rose

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------- X


In re:                                                                Chapter 11

THE COLLEGE OF SAINT ROSE,                                            Case No. 24-11131 (REL)

                            Debtor.
----------------------------------------------------------------- X

       DECLARATION OF FRANCIS J. BRENNAN IN SUPPORT OF DEBTOR'S
         APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
    RETENTION OF NOLAN HELLER KAUFFMAN LLP AS SPECIAL COUNSEL TO
                 THE BOARD OF TRUSTEES OF THE DEBTOR
     PURSUANT TO SECTIONS 327(e) AND 1107(b) OF THE BANKRUPTCY CODE

          I, Francis J. Brennan, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury

 that:

                      1.    I am a member of the firm ofNolan Heller Kauffman LLP ("Nolan"), which

 maintains offices for the practice of law at 80 State Street, Albany, New York. I am an attomey­

 at-law, duly admitted and in good standing to practice in the State of New York. I submit this

 Declaration in connection with the Debtor's Application for Entry of an Order Authorizing the

 Retention of Nolan as Special Counsel to the Board of Trustees of the Debtor Pursuant to Sections

 327(e) and 1107(b) of the Bankruptcy Code (the "Application"), effective as ofOctober 10, 2024

 (the "Petition Date"), and to provide the disclosures required under section 329 of title 11 of the



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United States Code (the "Bankruptcy Code"), Rules 2014(a) and 2016(h) of the Federal Rules of

Bankruptcy Procedure (the "Bankruptcy Rules"), and Rule 2014-1 of the Local Bankruptcy Rules

for the Northern District of New York (the "Local Bankruptcy Rules").

                      2.    Nolan utilizes certain procedures (the "Firm Procedures") to determine its

relationships, if any, to parties that may have connections to the debtor in the above-captioned case

(the "Debtor"). In implementing such Firm Procedures, the following actions were taken to

identify parties that may have connections to the Debtor and Nolan's relationship with such parties:

                              (a)    Nolan requested and obtained from the Debtor lists identifying the
                                     interested parties and significant creditors that are or may be
                                     involved in or connected to this chapter 11 case (the "Potential
                                     Parties-in-Interest"). The Potential Parties-in-Interest include,
                                     among others, the Debtor, pre-petition lenders, post-petition
                                     lenders, trustees and the list of all creditors of the Debtor.

                              (b)    Nolan then compared each of the Potential Parties-in-Interest to
                                     the names in its master electronic database of current and former
                                     clients (the "Client Database").

                              (0)    Known connections between former or current clients of Nolan
                                     and the Potential Parties-in-Interest were collected for purposes of
                                     preparing this Declaration.


                      3.    As a result of the Firm Procedures, I have thus far ascertained that, upon

 information and belief, Nolan has no present connection with any creditors or parties in interest of

the Debtor except the following current clients for which work has been done within one year:

                       Creditor                       Connection            Percentage of Annual
                                                                                  Revenue

         M&T Bank                           Counsel                           Approximately 5%1


                      4.    Nolan's representation of M&T Bank generally consists of commercial



   Percentage as of July 31, 2024.


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collections matters. Nolan does not represent M&T Bank in matters of the type of which

Manufacturers' and Traders' Trust Company is involved in the case.

                      5.   In addition, the Debtor maintains several checking accounts at KeyBank

utilized as part of its cash management system. KeyBank is a client of Nolan. Further. it is my

understanding that the Debtor maintains its pension plan account for its employee pension plan

with Key Trust, which is a subsidiary of KeyBank. It is my understanding that neither KeyBank

nor Key Trust is a creditor of the Debtor. Nevertheless, out of an abundance of caution, I note the

 connection between KeyBank and Nolan.

                      6.   Nolan has previously represented some other Potential Parties-in-Interest,

but those representations are not current and/or no work has been done within the last year.

                      7.   I believe that none of the representations or relationships recited in

 Paragraphs 3 and 4 above would give rise to a finding that Nolan represents or holds an interest

 adverse to the Debtor with respect to the services for which Nolan would be retained.

                      8.   Nolan has reviewed the relationship that its partners and employees have

 with the United States Trustee for Region 2 (the "U.S. Trustee") and those persons employed in

 the office of the U.S. Trustee, and I do not believe that Nolan has any material connections with

the U.S. Trustee or any person employed in the office of the U.S. Trustee.

                      9.   Subject to this Court's approval in accordance with sections 330 and 331 of

 the Bankruptcy Code, such Bankruptcy Rules as may be applicable, the Local Bankruptcy Rules,

 and such other procedures as may be fixed by order of this Court, compensation will be payable to

 Nolan on an hourly basis, plus reimbursement of actual and necessary expenses incurred by Nolan.

 Nolan's customary, hourly rates, subject to change from time to time, are $445 per hour for senior

 partners, $415 per hour for partners, $395 per hour for senior associates and counsel, and $340 per




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hour for associates.

                      10.   The hourly rates that will be charged in this case are Nolan's standard hourly

rates. These rates are set at a level designed to fairly compensate Nolan for the work of its attorneys

and paralegals and to cover fixed and routine overhead expenses. It is Nolan's policy to charge its

clients in all areas of practice for all other expenses incurred in connection with the client's case.

The expenses charged to clients include, among other things, telecopier toll charges, mail and

express mail charges, special or hand delivery charges, document processing and photocopying

charges, travel expenses, expenses for "working meals" and computerized research and

transcription costs. Nolan bills these expenses at cost to its clients and makes no profit from these

expenses. Nolan believes that it is appropriate to charge these expenses to the clients incurring

them rather than to increase its hourly rates and thereby spread such expenses among all clients.

Nolan intends to comply with the guidelines established by the Office of the United States Trustee

with respect to certain limitations on the charging of expenses to chapter 11 debtors.

                      11.   As of the date hereof, Nolan has received a pre-petition retainer of $25,000,

a portion of which was applied to pre-petition services rendered to the Board. Nolan will hold the

balance of the retainer it the firm's escrow account to be applied to post-petition fees and expenses

pursuant to further Order of the Court. As of the Petition Date, the Debtor does not owe Nolan

any amounts for legal services rendered before the Petition Date.

                      12.   This Declaration is intended to comply with Bankruptcy Rule 2016(b).

Nolan intends to apply to this Court for compensation for professional services rendered in

 connection with these cases in accordance with the procedures established by the Bankruptcy Code,

 Bankruptcy Court, Local Bankruptcy Rules, and the administrative and other orders entered by

 this Court.




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                      13.   No promises have been received by Nolan or by any member or associate

thereof as to compensation in connection with these cases other than in accordance with the

provisions of the Bankruptcy Code.

                      14.   Nolan further states that it has not shared, nor agreed to share (a) any

compensation it has received or may receive with another party or person, other than with the

partners, counsel and associates of Nolan, or (b) any compensation another person or party has

received or may receive.

                      15.   Except as disclosed herein, neither I, Nolan, nor any member or associate

thereof or of counsel thereto, insofar as I have been able to ascertain and subject to disclosures

herein, represents any interest adverse to the Debtor or its estate in the matters regarding which

Nolan is to be engaged.

                      16.   By reason of the foregoing, I believe Nolan is eligible for employment and

retention as special counsel to the Board pursuant to sections 327(e) and 1107(b) of the Bankruptcy

Code and the applicable Bankruptcy Rules and Local Bankruptcy Rules.


                                                  By:    s/ Francis Brennan
                                                  Name: Francis J. Brennan
                                                  Title: Partner




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                                        Exhibit A

                                   Brennan Declaration
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    NOLAN HELLER
                                                                                                SO STATE STREET, 1r. FLOOR




Ihi KAUFFMAN LLP
                                                                                                ALBANY, NY 12207
                                                                                                TELEPHONE (515) 449-3300
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                                                                                                www_nhkil: corn

                  ATTORNEYS            AT    LAW




  FRANCIS J. BRENNAN
  Direct Dial: (518) 432-3159
  fbrennein@niddlgeorn

                                                                 July 15,2024


      VIA EMAIL- Jstone3057(y/gmail.com
      The Board of Trustees of the College of Saint Rose
      Attn: Jeffrey D. Stone
      Chair of the Board
      18 Chip Shot Way
      Mechanicville, New York 12118

      Re:      Letter of Engagement- The Board of Trustees of the College of Saint Rose (the "Board")

      Dear Mr. Stone:

              We are pleased that The Board of Trustees of the College of Saint Rose ("you" or the "Board") has
      selected Nolan Heller Kaufman LLP to serve as your counsel in connection with matters pertaining to the
      matters described below. The purpose of this Letter of Engagement is to confirm the basic terms on which
      our Firm has undertaken the representation of you, from the date we actually began work on this matter for
      you, forward, This Letter of Engagement is furnished to you in accordance with Part 1215 of the Joint Rules
      of the Departments of the New York Appellate Division.

               Scope of Engagement. As counsel, our engagement will be to provide legal services to you with
      respect to matters pertaining to the Board's role in the College of Saint Rose's evaluation of a filing by the
      College under Chapter 11 of the United States Bankruptcy Code (the "Code") and matters concerning or
      relevant to the Board in the event that the College files a petition under Chapter 11 of the Code. I will be
      our Firm's principal attorney in connection with the engagement

               Fees, Expenses and Billing.

             Generally, our fees for professional services in connection with this engagement are based on the
      hours worked by the Firm's professionals and the hourly rates in effect at the time services are rendered.
      We propose to staff our engagement as follows:

              •        Senior Partners: $445.00
              •        Partners: $415.00
              •        Senior Associates and Of Counsel: $395,00
              •        Associates: $340.00



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              We request an initial retainer of $25,000.00 as a condition of our representation in this matter. We
     reserve the right to request the replenishment of the retainer during the course of our representation of the
     Board. Fees and expenses incurred in course of our representation of the Board will be billed against the
     retainer_ In the event that there is a balance remaining of any retainer we are holding with respect to this
     matter at the conclusion of our representation of the Board, such balance will be returned to the College of
     Saint Rose or as otherwise directed by the Board.

               In addition to our fees, there may be other charges for items incident to the performance our legal
     services, such as photocopying, couriers, travel expenses, local counsel, specialized computer applications
     such as computerized legal research, and filing fees. Our policy is to pass through these charges simply to
     recover our costs without any mark-up. For certain of these items, particularly those that involve significant
     technology and/or support services such as imaging and storing electronic data and documents and the use
     of specialized software for legal research and data processing, we are sometimes able to reduce costs by
     contracting with vendors to purchase a quantity of service over time that is beyond the needs of any single
     client. In those instances, we may bill you at a reduced per unit rate that does not fully reflect the quantity
     discounts we ultimately obtain. Unless special arrangements are made, the fees, expenses and charges of
     others (such as experts, investigators, local counsel and consultants) and other large disbursements will not
     be paid by us, but will be the sole responsibility of, and billed directly to, the Board.

               The rates of our lawyers and legal assistants are reviewed and adjusted from time to time, usually
     at least once a year on a Firm-wide basis, to reflect current levels of legal experience, changes in overhead
     costs, and other factors. Further, although we may from time to time, at the Board's request, furnish
     estimates of legal fees and other charges that we anticipate will be incurred, these estimates are by their
     nature inexact and, therefore, the actual fees and charges ultimately payable may vary from such estimates.

              If at any time we are asked to testify (by deposition or otherwise) or respond to a subpoena or
     other discovery request as a result of our representation of you, or if we must defend the confidentiality of
     your communications in any proceeding, you agree, subject to applicable law, to pay us for our time,
     calculated at the hourly rate at the time for the particular individuals involved, and for any associated
     charges, even if our representation of you has ended.

              Statements reflecting services and/or expenses will be sent from time to time but no less frequently
     than every sixty (60) days. Our statements are payable in full within thirty (30) days of their date.

             Termination or Withdrawal. Our representation may be terminated prior to the conclusion of the
     matter by you, or by us, subject to the rules of professional responsibility, upon written notice. We may
     withdraw from the representation if our fees and expenses are not paid on time. No such termination or
     withdrawal, however, will relieve you of the obligation to pay the legal fees and expenses owed to us for
     services performed and other charges owed to us through the date of terminatioe.

              Client Documents. We will maintain all documents furnished to us in our client files for the
     matter. At the conclusion of the matter (or earlier if appropriate) you should advise us (and we will contact
     you for this purpose) as to which, if any of the documents in our files you wish us to return. We may keep
     copies of these documents to the extent we believe advisable for our records. We will retain any remaining
     documents in our files for a certain period of time and then dispose of them according to our record retention
     program schedule then in effect.

               Arbitration. We appreciate the opportunity to serve as your counsel on this matter and anticipate
     a productive and harmonious relationship. If, however, you become dissatisfied for any reason with our
     services or the fees charged, we request that concerns be brought to our attention i elm e:Eatc . On our side,
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     if we perceive a problem with the representation, we will, without prejudice to or waiver of our right to
     move to withdraw, discuss it with you immediately. In our experience, most problems can and will be
     rectified through such communication.

               Further, in the event that a dispute arises between us relating to our fees, you may have the right
     to arbitration of the dispute pursuant to Part 137 of the Rules of the Chief Administrator of the Courts, a
     copy of which will be provided upon request.

             This Letter of Engagement may be executed in one or more counterparts, each of which shall
     constitute an original and all of which taken together shall constitute one agreement. A facsimile or
     electronic transmission of a duly executed counterpart of this Letter of Engagement shall be as valid, in all
     respects, as an original.

          Kindly sign and return the enclosed copy of this Letter of Engagement indicating your agreement with
     the within provisions. If you have any questions, please do not hesitate to contact me.

          We look forward to working with you and appreciate the opportunity to provide legal services to you.

                                                               Very truly yours,

                                                               NOLA.N HELLER KAUFFMAN LLP




     AC CiPTED AND AGREED TO
     this '(ay of July, 2024:

     THE BOARD OF TRUSTEES OF
     THE COLLEpE OF SA:N F ROSE



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                                        Exhibit B
                                     Proposed Order




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- X

In re:                                                                 Chapter I I

THE COLLEGE OF SAINT ROSE,                                             Case No. 24-11131 (REL)

                            Debtor.

·----------------------------------------------------------------- X


             ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                    NOLAN HELLER KAUFMAN LLP AS SPECIAL
               COUNSEL TO THE BOARD OF TRUSTEES OF THE DEBTOR

          Upon the application (the "Application") of The College of Saint Rose, debtor and debtor­

 in-possession herein (the "Debtor"), for the entry of an order pursuant to sections 327(e) and

 1107(b) of the Bankruptcy Code authorizing the Debtor to retain the firm of Nolan Heller Kaufman

 LLP ("Nolan") as special counsel to the Board of Trustees of the Debtor effective as of the Petition

 Date; and the Court having reviewed the Application and the Brennan Declaration (as defined in

 the Application); and the Court having found that the Court has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that the Application is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this




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 proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409,

 and the Court having found based on the representations made in the Application and in the

 Brennan Declaration that Nolan does not hold or represent an interest adverse to the Debtor or its

 estate on the matters for which it is to be retained; and the Court having found that the relief

 requested in the Application is in the best interests of the Debtor's estate, its creditors, and other

 parties in interest; and the Court having found that the Debtor provided adequate and appropriate

 notice of the Application under the circumstances; and that no other or farther notice is required;

 and the Court having reviewed the Application and having heard statements in support of the

 Application at a hearing held before the Court (the "Hearing"); and the Court having determined

 that the legal and factual bases set forth in the Application and at the Hearing establish just cause

 for the relief granted herein; and any objections to the relief requested herein having been

 withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

 therefor, it is hereby ordered that:

                      1.   The Application is granted to the extent provided herein.

                      2.   Pursuant to sections 327(e) and 1107(b) of the Bankruptcy Code, the Debtor

 hereby is authorized to retain and employ Nolan as special counsel in this case as of the Petition

 Date, and Nolan is authorized to perform the services set forth in the Application.

                      3.   Nolan shall be compensated in accordance with and will file interim and

 final fee applications for allowance of its compensation and reasonable and necessary expenses

 and shall be subject to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and

 the Local Bankruptcy Rules of the Northern District of New York, and such other procedures as

 may be fixed by Order of this Court. All fee applications shall comply with the applicable

 guidelines established by the Office of the United States Trustee (the "U.S. Trustee").



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                       4.   Prior to any increases in Nolan's rates, Nolan shall file a supplemental

 declaration with the Court and provide ten (10) business days' notice to the Debtor, the U.S.

 Trustee and any official committee appointed in this case. The supplemental declaration shall

 explain the basis for the requested rate increases in accordance with section 330(a)(3)(F) of the

 Bankruptcy Code and state whether the Debtor has consented to the rate increases. The U.S.

 Trustee retains all rights to object to any rate increase on all grounds including, but not limited to,

 the reasonableness standard provided for in section 330 of the Bankruptcy Code, and the Court

 retains the right to review any rate increase pursuant to section 330 of the Bankruptcy Code.

                       5.   Nolan shall apply any remaining amounts of its prepetition retainer as a

 credit toward postpetition fees and expenses, after such postpetition fees and expenses are

 approved pursuant to the first Order of the Court awarding fees and expenses to Nolan.

                       6.   Nolan shall use its best efforts to avoid any duplication of services provided

 by any of the Debtor's other retained professionals in this chapter 11 case.

                       7.   In the event of an inconsistency between the Application, the Brennan

 Declaration and the Order, this Order shall govern.

                       8.   This Court shall retain jurisdiction with respect to all matters arising from

 or related to the implementation or interpretation of this Order.


 No Objection:

 s/
 Office of the United States Trustee




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